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 1   Keith A. Custis (#218818)                    Ashley Keller (pro hac vice)
       kcustis@custislawpc.com                      ack@kellerlenkner.com
 2   CUSTIS LAW, P.C.                             Travis Lenkner (pro hac vice)
 3   1875 Century Park East, Suite 700              tdl@kellerlenkner.com
     Los Angeles, California 90067                Marquel Reddish (pro hac vice)
 4   (213) 863-4276                                 mpr@kellerlenkner.com
                                                  KELLER LENKNER LLC
 5   Justin Griffin (#234675)
                                                  150 N. Riverside Plaza, Suite 4270
       justingriffin@quinnemanuel.com
                                                  Chicago, Illinois 60606
 6   QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                                  (312) 741-5220
     865 S. Figueroa St., 10th Floor
 7   Los Angeles, California 90017
                                                  Warren Postman (pro hac vice)
     (213) 443-3100
 8                                                   wdp@kellerlenkner.com
     Andrew Schapiro (pro hac vice forthcoming)   KELLER LENKNER LLC
 9     andrewschapiro@quinnemanuel.com            1300 I Street, N.W., Suite 400E
     QUINN EMANUEL URQUHART & SULLIVAN, LLP        Washington, D.C. 20005
10   191 N. Upper Wacker Dr., Suite 2700           (202) 749-8334
11   Chicago, Illinois 60606
     (312) 705-7472
12   Attorneys for Petitioners
13                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
14
                                 SAN FRANCISCO DIVISION
15                                         )
     TERRELL ABERNATHY, et al.,            ) Case Nos. 3:19-cv-07545
16                                         )           3:19-cv-07646
                    Petitioners,           )
                                           ) DECLARATION
17                                                            OF AARON ZIGLER
                                             IN SUPPORT OF PETITIONERS’
18        vs.                              ) REPLY IN SUPPORT OF
                                           ) AMENDED MOTION
19   DOORDASH, INC.,                       ) TO COMPEL ARBITRATION
                                           )
20                  Respondent.            ) Judge:       Hon. William H. Alsup
                                           )
21
                                           ) Date:        February 10, 2020
22   CHRISTINE BOYD, et al.,               ) Time:        2:00 p.m.
                                           ) Judge:       William H. Alsup
23                  Petitioners,           )
                                           )
24
          vs.                              )
25                                         )
     DOORDASH, INC.,                       )
26                                         )
                    Respondent.            )
27                                         )
28

                              DECLARATION OF AARON M. ZIGLER
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 1          I, Aaron M. Zigler, declare based on personal knowledge as follows:

 2          1.      I certify that the statements made in this instrument are true and correct. I make the

 3   following statement based upon my own personal knowledge and if called upon as a witness, I

 4   could and would testify competently thereto.

 5          2.      I am a lawyer first admitted to practice in 2001. I am currently admitted to practice

 6   in the highest courts of the States of Missouri, Illinois, New York and California; the Second,

 7   Seventh and Ninth Federal Circuit Courts of Appeal; and in several Federal district courts,

 8   including the Northern District of California.

 9          3.      I am a Partner at Keller Lenkner LLC, counsel for Petitioners in this matter.

10          4.      This declaration is submitted in support of Petitioners’ Amended Motion to Compel

11   Arbitration.

12          5.      Following this Court’s November 25, 2019 hearing and the issuance of Petitioners’

13   subpoena, I was tasked with obtaining relevant discovery from International Institute for Conflict

14   Prevention and Resolution, Inc., the arbitral forum designated in DoorDash’s new arbitration

15   agreement and known as CPR. This assignment included participating in efforts to resolve CPR’s

16   objections to Petitioners’ subpoena, as well as preparing for and taking the deposition of CPR’s

17   President and CEO, Allen Waxman.

18          6.      On December 24, 2019, CPR produced 513 pages of documents reflecting or

19   concerning its discussions with Gibson, Dunn & Crutcher LLP and DoorDash about the

20   Employment-Related Mass Claims Protocol. On December 26, 2019, CPR produced an additional

21   17 pages of documents. CPR designated each of these documents “confidential” under the

22   Protective Order in this case. I personally reviewed each of these documents in preparing for Mr.

23   Waxman’s deposition.

24          7.      On December 27, 2019, I took the deposition of CPR CEO Allen Waxman in New

25   York at the office of his counsel. Mr. Waxman was represented by Kimberly Lunetta, Samantha

26   Padilla, and Sara DeStefano of Morgan, Lewis & Bockius, LLP and Anna Hershenberg of CPR.

27   DoorDash was represented at the deposition by Jesenka Mrdjenovic of Gibson Dunn. A copy of

28   the transcript of Mr. Waxman’s deposition is attached as Exhibit O to the Declaration of Joshua

                                               2
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 1   Lipshutz, ECF No. 157-5.

 2          8.

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 6          9.          As CPR’s CEO Allen Waxman testified during his deposition: “Gibson Dunn had

 7   reached out to us and raised an issue that they had in particular relating to [arbitration] fees. We

 8   responded by developing a protocol and welcomed their input on the protocol from a practical

 9   application standpoint.” Waxman Dep. Tr. at 119:17-21.

10          10.         CPR is an ADR provider that has historically focused on business-to-business

11   disputes. It holds itself out as the “leading independent resource helping business and their lawyers

12   resolve disputes more efficiently.” Tr. 14:22-15:20.

13          11.         On March 20, 2019, Keller Lenkner notified DoorDash that it represented over

14   3,000 clients who intended to pursue misclassification claims in arbitration before with AAA.

15          12.         Shortly thereafter, Michael Holecek of Gibson Dunn reached out to CPR

16                               May 17, 2019 Corr. from H. Erickson to N. Hanft, CPR_000007, attached

17   to this Declaration as Exhibit A. Helena Erickson, Senior VP of CPR,                             Mr.

18   Holecek’s call,

19                  Id. She                        Mr. Holecek’s

20

21

22                Id.

23          13.         Nothing happened until Mr. Holecek reached out again in September—three weeks

24   after Petitioners had filed 2,500 arbitration demands against DoorDash with AAA.

25          14.         Mr. Holecek called Ms. Erickson

26
27                Sept. 18, 2019 Corr. from M. Holecek to H. Erickson, CPR_000009, attached to this

28   Declaration as Exhibit B.

                                                  3
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 1          15.     Ms. Erickson

 2             Sept. 18, 2019 Corr. from H. Erickson to A. Waxman, CPR_000012, attached to this

 3   Declaration as Exhibit C.

 4          16.     They spoke again two days later, with Mr. Holecek

 5

 6                           . Sept. 20, 2019 Corr. from H. Erickson to A. Waxman, CPR_000050,

 7   attached to this Declaration as Exhibit D.

 8          17.     The next business day, Mr. Holecek was on the phone with Mr. Waxman discussing

 9   the misclassification claims against DoorDash. Tr. 125:6-129:6. By that Friday, Ms. Erickson

10                    Mr. Holecek                                           Sept. 27, 2019 Corr. from

11   H. Erickson to A. Waxman, CPR_000514 attached to this Declaration as Exhibit E; Tr. at 251:24-

12   252:04.

13          18.     The next week, Mr. Waxman

14                                                 Oct. 2, 2019 Corr. from A. Waxman to T. Sabatino

15   and J. Kiernan, CPR_000087, attached to this Declaration as Exhibit F; Tr. 133:23-134:12. Mr.

16   Waxman

17

18                                       Id. Mr. Waxman                       Gibson Dunn

19                                                                                            Gibson

20   Dunn                                  Tr. at 216:06-217:06.

21          19.     That Sunday night, Mr. Waxman                          Mr. Holecek

22
23                     Mr. Waxman wrote:

24                                                                                       Oct. 6, 2019,

25   Corr. from A. Waxman to M. Holecek, CPR_000107, attached to this Declaration as Exhibit G.

26          20.     The next day Mr. Waxman and Ms. Erikson were on the phone with Greg Farano,

27   Head of Litigation for DoorDash, and Mr. Holecek to discuss their concerns about CPR’s draft

28   protocol. Tr. at 170:06-14. The following Monday morning, CPR

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 1            Mr. Holecek that Mr. Waxman

 2                Oct. 14, 2019 Corr. from A. Waxman to M. Holecek, CPR_000189, attached to this

 3   Declaration as Exhibit H. The next day, Mr. Holecek                           Oct. 15, 2019 Corr.

 4   from M. Holecek to A. Waxman, CPR_000198, attached to this Declaration as Exhibit I. According

 5   to DoorDash, Gibson Dunn participated in six substantive calls with CPR regarding the protocol,

 6   three of which included DoorDash’s in-house counsel. ECF No. 144 at 5.

 7          21.     The following week, Mr. Waxman                                                 Mr.

 8   Holecek and Josh Lipshutz of Gibson Dunn and Mr. Farano of DoorDash, stating:

 9

10

11

12   Oct. 24, 2019 Corr. from A. Waxman to M. Holecek, CPR_000222, attached to this Declaration as

13   Exhibit J.

14          22.                                                         See, e.g., Oct. 28, 2019 Corr.

15   from A. Waxman to M. Holecek, CPR_000247 attached to this Declaration as Exhibit K; Oct. 29,

16   2019 Corr. from A. Waxman to M. Holecek, CPR_000259 attached to this Declaration as Exhibit

17   L; October 30, 2019 Corr. from A. Waxman to M. Holecek, CPR_000277 attached to this

18   Declaration as Exhibit M.

19          23.     Despite DoorDash’s and Gibson Dunn’s active participation in the drafting of the

20   protocol, CPR did not discuss the protocol at any point with any lawyer representing drivers

21   asserting misclassification claims. Tr. at 111:11-112:15; 115:09-15.

22          24.     Towards the end of the month Gibson Dunn and DoorDash

23

24

25          25.     On October 28, 2019—the day of DoorDash’s final deadline to pay filing fees to

26   AAA for 2,250 demands—Mr. Holecek emailed AAA to state that DoorDash would not pay the

27   filing fees necessary for any Petitioners’ demands to proceed. The next day, October 29, 2019, Mr.

28   Waxman

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 1
 2                                           Oct. 29, 2019 Corr. from A. Waxman to T. Sabatino and J.

 3   Kiernan, CPR_000255 attached to this Declaration as Exhibit N.

 4          26.     That evening, however, AAA extended DoorDash’s fee deadline to November 7,

 5   2019; the following Thursday. Mr. Holecek then,                                              Mr.

 6   Waxman

 7                Oct. 30, 2019 Corr. from M. Holecek to A. Waxman, CPR_000291, attached to this

 8   Declaration as Exhibit O.

 9          27.

10

11                                                Oct. 31, 2019 Corr. from A. Waxman to M. Holecek,

12   CPR_000297, attached to this Declaration as Exhibit P; Tr. 220:23-221:1; 229:24-230:3. On

13   October 31, 2019, Mr. Farano wrote to Mr. Waxman

14                Oct. 31, 2019 Corr. from G. Farano to A. Waxman, CPR_000303, attached to this

15   Declaration as Exhibit Q. On November 4, 2019, Mr. Waxman notified Mr. Holecek that

16                               Nov. 4, 2019 Corr. from A. Waxman to M. Holecek, CPR_000310,

17   attached to this Declaration as Exhibit R.

18          28.     On November 8, 2019, AAA administratively closed Petitioners’ files due to

19   DoorDash’s failure to pay the required filing fees. ECF No. 151 at 10. The very next day—a

20   Saturday—DoorDash rolled out its new arbitration agreement to Dashers, including Petitioners,

21   when they reported for work by logging into the DoorDash app. Id. at 11. This new agreement

22   requires Dashers to arbitrate under CPR’s Employment-Related Mass Claims Protocol. Id.

23          29.     Although the discovery from CPR tells a compelling story of how and why the Mass

24   Claims Protocol was created, there are still questions that are unanswered.

25          30.     During his deposition, Mr. Waxman refused to answer a number of questions on the

26   advice of counsel. For example, I asked Mr. Waxman to identify other parties who commented on

27   the protocol and Mr. Waxman refused to answer on the advice of counsel. Tr. at 156:20-22; 187:17-

28   192:20; 194:8-195:5; 206:12-25.

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 1          31.     I asked Mr. Waxman about the availability of the neutrals available to CPR, to

 2   understand CPR’s capability to handle a large volume of claims. Mr. Waxman refused to answer

 3   on the advice of counsel. Tr. at 55:21-57:15.

 4          32.     I asked Mr. Waxman how the Mass Claim Protocol’s expected fee structure would

 5   impact CPR’s revenue. Mr. Waxman refused to answer on the advice of counsel. Tr. 232:15-23.

 6          33.     I asked Mr. Waxman to confirm CPR’s descriptions of the subject areas of its

 7   arbitrations and the identities of its major donors, listed on its 2019 “Annual Review.” Mr. Waxman

 8   refused to answer on the advice of counsel. Tr. 62:2-65:3.

 9          34.     Although CPR’s website and Annual Review tout Gibson Dunn as a donor, Mr.

10   Waxman also refused to answer on the advice of counsel questions concerning the amount of

11   money paid to CPR by Gibson Dunn or DoorDash. Tr. at 65:4-24.

12          35.     I asked Mr. Waxman to describe the other Rules, Protocols or Guidance he had

13   worked on at CPR, to understand whether the Employment-Related Mass Claims Protocol was

14   consistent with CPR’s prior practices. Mr. Waxman refused to answer on the advice of counsel.

15   Tr. at 34:16-36:20.

16          36.     I asked Mr. Waxman to describe the process that was followed the last time CPR

17   modified its arbitration Rules. Tr. 43:3-43:16. Mr. Waxman refused to answer on the advice of

18   counsel. Tr. 43:17-22.

19          37.     Mr. Waxman also refused to answer on the advice of counsel questions concerning

20   how long prior CPR processes took to develop, who was involved in developing those processes,

21   and who advocated for any changes. Tr. 44:19-47:9.

22          38.     I asked Mr. Waxman to describe his employment history, to lay a foundation for

23   questions concerning CPR’s interest in a “book of business.” Tr. 47:1249:9. Mr. Waxman refused

24   to answer on the advice of counsel. Id.

25          39.     I pressed Mr. Waxman’s counsel to explain the basis for her instructions not to

26   answer, in an effort to resolve our dispute. Tr. 78:25-81:15. We took a break in the deposition,

27   and I sought to determine if the Court could be reached to resolve the dispute. Upon consulting the

28   Court’s website I learned that the Court was unavailable that day.

                                              7
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 1            40.   Mr. Waxman refused to answer on the advice of counsel any questions concerning

 2   actions taken after the November 4, 2019 launch of the Mass Claims Protocol. This included

 3   questions concerning additional conversations with Gibson Dunn or DoorDash, Tr. 241:16-242:8,

 4   Judge Scheindlin’s involvement as the newly announced head of arbitrations subject to the

 5   Protocol, Tr. 248:2-21, and any other businesses that may have adopted CPR’s Mass Claims

 6   Protocol, Tr. 249:18-250:13.

 7            41.   Mr. Waxman also testified that he did not remember Keller Lenkner “coming up”

 8   when CPR was creating the Mass Claims Protocol. Tr. at 253:24-254:06.

 9            42.   Following my review of Mr. Waxman’s transcript, I reached out to his counsel in a

10   further attempt to resolve our discovery dispute. I proposed that Petitioners would agree not to

11   seek to compel further discovery if CPR would produce: 1) documents sufficient to show the

12   amount of all payments from Gibson Dunn and DoorDash to CPR since 2017; 2) all drafts of the

13   Mass Claims Protocol; 3) all documents reflecting invitations to comment or comments on the

14   protocol; 4) all documents (e.g. forwards and replies) relating to CPR_303; the email from Mr.

15   Farano                         ; 5) all documents (e.g. forwards and replies) relating to CPR_310;

16   the email                                                      ; and 6) all documents mentioning

17   Ashley Keller, Travis Lenkner, Warren Postman or Keller Lenkner.

18            43.   In the course of those discussions, it because clear that responsive documents

19   created after November 4, 2019 had not been produced. I requested production of those documents.

20            44.   Although Ms. Lunetta agreed to produce documents that reflect communications

21   between CPR, Gibson Dunn, and DoorDash; and communications internally that reflect

22   conversations with DoorDash or Gibson Dunn regarding the protocol after November 4, 2019, she

23   refused to produce communications with anyone other than Gibson Dunn and DoorDash. She

24   would not produce all drafts of the protocol. She would not produce additional comments on the

25   protocol. Jan 19, 2020 Corr. from K. Lunetta to A. Zigler, attached to this Declaration as Exhibit.

26   S.

27            45.   As of the execution of this declaration, no additional documents from CPR have

28   been produced.

                                              8
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 1   I affirm that the foregoing is true under penalty of perjury.

 2

 3   Signed on January 23, 2020.

 4                                                         /s/ Aaron M. Zigler
 5                                                         Aaron M. Zigler

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